Case 3:11-cV-00659-T.]C-I\/|CR Document 1 Filed 07/05/11 Page 1 of 11 Page|D 1
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MIDDLE I)ISTRICT oF FLoRIDA `
JACKSONVILLE I)IVISION L": _. ‘

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CASE NO.: fb ‘.\ \...QN _ UL:? q
GLENDA S. BALLINGER,
Plaintii`f,
vs.
UNlTED STATES OF AMERICA,

Defendant.
f

 

COMPLA]NT

Plaintiff, GLENDA S. BALLINGER, Sues Det"endant, UNITED STATES OF
AMERICA, and allegcs:

1. This is an action for damages pursuant to 28 USCS §2401 that exceeds Seventy-Five
Thousand Dollars ($75,000.00), exclusive of interest, costs and attorneysl fees.

2. At all times material to this action, Plaintiff`, GLENDA S. BALLINGER, was a
natural person residing in Jacksonville, Duval County, Florida.

3. At all times material to this action, Defendant, UNITED STATES OF AMER]CA,
maintained an agency known as the United States Postal Service.

4. Plaintit`f, GLENDA S. BALLINGER, has complied with and exhausted the
administrative remedies and requirements of the Federal Tort Claims Act. See Composite Exhibit

“A” attached hereto.

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Case 3:11-cV-00659-T.]C-I\/|CR Document 1 Filed 07/05/11 Page 2 of 11 Page|D 2

5. On or about July 3, 2009, Plaintiff, GLENDA S. BALLINGER, was in a motor
vehicle traveling on Parental Home Road in Jacksonville, Duval County, Florida.

6. At that time and place, Defendant’s vehicle was traveling behind Plaintiff’s vehicle
on Parental Home Road in Jacksonville, Duval County, Florida.

7. Defendant’s employee, George R. Jones, was operating and driving the motor
vehicle with the permission and consent of its owner, Defendant, UNITED STATES OF
AMERICA.

8. At that time and place, Defendant’s employee negligently operated and/or
maintained the motor vehicle so that it struck Plaintiff.

9. Defendant is vicariously liable for the negligence of its employee in the course and
scope of his employment at the time of the accident.

10. As a direct and proximate result of Defendant’s negligence, Plaintiff suffered bodily
injury including a permanent injury to the body as a whole, pain and suH`ering of both a physical
and mental nature, disability, physical impairment, distigurement, mental anguish, inconvenience,
loss of capacity for the enjoyment of life, aggravation of an existing condition, expense of
hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to eam
money and loss of ability to lead and enjoy a normal life. The losses are either permanent or
continuing and Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintiff, GLENDA S. BALLINGER, demands judgment for damages
against Defendant, UNITED STATES OF AMERICA, and other such relief deemed proper by

the Court.

Page 2 of 3

Case 3:11-cV-00659-T.]C-I\/|CR Document 1 Filed 07/05/11 Page 3 of 11 Page|D 3

DEMAND FOR JURY TRIAL

Plairitit"l` also demands ajury trial on all issues so triable.
. . gm
RESPECTFULLY submitted this day of July, 201 l.

MoRGAN & Moj,AN,

 

DONNY A. OW
Florida Bar No.

  

.]acksonville, FL
'l`elephone: (904)398~2?22

Facsimile: (904) 366-76?7 or 366-?6?8
Email: dowens@forthepeople.com
Counsel for Plaintiff

Page 3 of`3

Case 3:11-cV-00659-T.]C-___I\/|CR Document 1 Filed 07/05/11 .{Page 4 of 11 Page|D 4

,.. »-

 

C LA| M FO R DAM AG E |NSTRUCT|DNS: F|ease read carefully the instructions on tha reverse side and EOFSMNBPPHOVED
’ supply information requested on both sides of this iorm. Use additional sheet{s} ii 1105_ 0008

INJURY, OR DEATH necessary See reverse side for additionsl instructions

 

 

 

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B. Basis ot Clairrl (State in de!ari the known facts end circumstances attending the o‘anna§is/`-z injury, or &,death identifying persons and property invoived, the
piace ot occurrence and the cause thereof} iUse additionat pages ii necessary.)

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9_ PF\OPEF|TY DAMAGE
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gall &md£/l-B weld-ldf l PERSUNRL lNJUHYr'WRONGFUL DEATH

STATE NATUF!E AND EXTENT OF EACH IN.JUF{Y OF'i CAUSE OF DEATH, WHICH FOF|MS THE BASIS OF THE CLA|M. |F OTHEF{ THAN CLAIMANT, STATE

NAME OF lNJURED PERSON OF'| DECED .

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DUNT IN FULL SRTlSFACTlON AND FlNAL SETTLEMENT OF TH|S CLR|M

SEG§ATURE OF CLA|MANT {See instructions on reverse side.)

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DRIM|NAL PENALTY FOR PRESENT'ENG FRA DL|LENT
CLA|M OR MAKING FALSE STATEMENTS
Hne of not more than $10.0DO or imprisonment for not more than 5 years

 

 

 

plus double the amount ot damages sustained by the United States. lor both. {See 18 U.S.C. 28 7, tDUt.}
($ee 3t U.S.C. 3729.) y
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v RE.C\‘CLED FAFZR

Case 3:11-cV-00659-T.]C-I\/|CR Document 1 Filed 07/05/11 Page 5 of 11 Page|D 5

 

 

This Notlco ls provided in accordance with the Prlvacy Act. 5 U.S.C. 552a(o|r3).
and concerns the information requested in thatcher to which this Notlce is aitaohod.

A. Aurl¢orrty: The requested information la solicited pursuant to one or more of the
totlowing: 5 U.S.C. 301. 28 U.S.C. 501 of soq.. 28 U.S.C. 2871 ot seq.. 28

C.F.R. Part 14. l

A CLA|M $HALL BE DEEMED 10 HAVE BEEN PRESENTED WHEN A FEDERAL
AGEN(W RECE|VES FROM A CLA|MANT. HlS DULY AUTHOR|ZED AGENT, OR
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WFfl`iTEN NOT|FlCK|’ION OF AN lNClCENT. ACCOMF'AN|ED HV A CLA|M FOR
MONE¥ DAMAGES lN A FOR lNJUFW TO OFi LOSS OF

Any instructions or information necessary in fha preparation of your claim will bo
lumiahed. upon request. by the office indicated in item ll on the reverse sido.
Comploto regulations punching lo claims asserted r.mdor the Foderal Tort Clalms Act
can be found in Titie 28. Code of Foder'af Ftequiadol'io. pan 14. Many agencies have
published supplemental regulations olso. if more mm one agency is lnvolvod, pleas
state each agoncy.

The claim may be filed by 9 duh/ authorized agent or othor legal representative
provided evidence satisfactory to the Govemmeht is submitted with said claim
establishing express authority to oct for the claimant. A claim presented by an agent or
legal representative must be presented in the name of the claimant if the claim le
signed by the agent or legal representative. it must show the title or legal capacity of
the person signing and be accompanied by evidence of his/her authority to present a
claim on bohalt of the claimant as agent. oxocutor. administrator. parent, gt.lardian or
other representative

ll claimant intends to file claim for both personal iniury and profwty damago. claim
for both must be shown in item l2 of this fomt.

Tho amount claimed should be substantiated by competent evidence as lollowa:

(a) `ln support of the claim for personal injury or death. the claimant should submit
a written report by the attending physiolan. showing the nature end extent of lniury.
the nature md extent of treatment, fha degree of pennanent disability. ll any, the
prognoals. and the period of hospitalizatbn, or hoopacitstfon. attaching itemized bits
for medicat, hospital. or brutal expenses actually lnct.u'rod.

 

 

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the requested interruption or to execute tho form may render your claim "lnvalid".

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(b) in support of claims for damage to property which has been or can be
economicalty rapar'red. the ofalmmt should submit at least two itemized signed
statements or estimates by rollablo, disinterested concerns or. if payment has been
mado, the itemized signed receipts evidencing poymont.

{c) in support of claims for carriage to property which is not economically repalrabio.
or if the property le lost or destroyod. the clairth should submit statements as to the
original coat of the property, the date of purohm, and the value of the proporty. both
before and alter the uccldont. Such statements should bo by disinterested competent
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{d) Fatiure to completely execute this form or to supply the requested meterld
within two yows from the date the allegations accrued may render your claim "lnvaild".
A claim is_deomod presented when it ts received by the appropriate agency. not when
lt la mailed.

Fllluro to spoclfy a sum conlin will result in invalid presentation or your claim
and moy result |n forfeiture of your rfghts.

 

lo Dlrector, Torts Branch
Civil Divfston
U.S. Department of Justir:e
Washington, DC 20530

Public reporting burden for this collection of interruption is estimated to average 15 minutes psr msponse. including the time for reviewing instructions searching existing
data sources gathering and maintaining the data nasded, and completing and reviewing the collection of lnforrnation. Send comments regarding this burden estimate or
any other aspect of this collection of information. including suggestions for reducing this burden.

and to the

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Washlngton. DC 20503

 

lNSURANCE COV§RAGE

 

in order that subrogation claims may be adiu/dicated, lt is essential that the claimant provide the following information regarding the insurance coverage of his vehicle or property.

 

co company {Numbor. stroor, city. $taf's, and Zip Codo) and policy numbor. Ci No

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your insurer taken or proposes to take with reference to your claim? tit ls necessary that you ascertain those lacfs)

 

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19. Do you carry public liability and property damage insurm'rce? G ¥os, lt yes. give name and address of insurance carrier {Numoor. srroat. crry, Stafo. and Zb Codo) F No

 

 

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LAW DEPARTMENT
NATlONAL TORT CENTER

 

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August 18, 2010

VtA FAX: (904) 398-2334

John Nl. Phi||ips
tviorgan & Nlorgan
76 S. Laura St., Ste 1100
Jacksonvi||e. FL 32202-3233

Re: Your C|ient: Glenda S. Ballinger
Date ol lncident: Ju|y 3, 2009
USPS Case #: 320~09~03273

Dear Mr. Phil|ips:

Please be advised that the administrative claim filed on behalf of above referenced
claimants with the United States Postal Service on April 20, 2010 has been assigned
to our office for adjudication

We intend to adjudicate this claim as soon as possib|e. but be aware that by Statute.
the Postal Service has six months from Apri| 20. 2010 in which to adjudicate your
claim. Should you have any additional information you wish to submit that would be
helpful in our review of this mailer, kindly forward same to my attention at the National
Tort Center, United States Postal Service. P. O. Box 66640, St. Louis. Missouri
63141~0640.

Please contact me should you have any questions

Sincerety,
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5 c /"

Wi||iam D. Glenn

Tort Claims Examiner/Adjudicator
Phone (314) 872-5166

Fax (314) 872-5193

cc: Cheryl R. t-lendon
Tort Claim Coordinator
File No. 320-09-0327B

P. O. BOX 66640

ST. LOU|S. MO 63141~0640
TEL? 3 l4~"872-5 l 20

FAX: 314.’872~5193

Case 3:11-cV-00659-T.]C-l\/lCR Document 1 Filed 07/05/11 Page 7 of 11 Page|D 7

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FAX: tsoa) 356-7673

June17, 2011

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CERTIFIED MAIL

United States Postal Service
Tort Claim Corrdinator

P.O. Box 40005
Jacksonvil]e, FL 32203-0005

 

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CERTIFIED MAIL

United States Postal Service

Law Department

Nationa] Tort Center

Attention: William Glenn

P.O. Box 66640

St. Louis, MO 63141-0640

Re: Ballinger, Glenda v. USPS
D/A: 7/3/2009

To Whom lt May Concern:

Please find enclosed the executed Form 95 and surgical recommendation from Dr. Krishna
Parchuri, regarding our client, Glenda Ballinger. Should you have any further questions, please
feel free to ~-. tact my paralegal,' Christina Medrano, at (904) 398-2722 and/or
cmedrano l '\ ~~eople.com.

  
   

Enc!osures

 

www.forthepeople.com

 

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Case 3:11-cV-00659-T.]C-l\/lCR Document 1 Filed 07/05/11 Page 8 of 11 Page|D 8

 

 

 

 

 

 

CLA|M FOR DAMAGE |NSTRUCT|ONS: Please read carefully the instructions on the reverse side and FORM APPROVED
\NJuRv OR DEATH ' supply information requested on both sides of the form. Use additional sheet(s) if OMB NO.
' necessary. See reverse side for additional instructions. 1 105-0008
'l, Submit To Appropriate Federal Agency: 2. Name, Address of claimant and claimant's personal representative if any.
l_,l .% S(._\/_\/ |CC; (See instructions on_ reverse. ) {Number, srree.', city, $tate and Zip Code)
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8. Basis of Claim {S.‘are in detail the known facts and circumstances aneno”ng the damage, injury, or death, identifying persons and property
involved, the place of occurrence and the cause thereof} /Use addirr`onal pages if necessary }

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9. PROPERTY DAMAGE
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10. PERSONAL lNJURY/WRONGFUL DEATH
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WlTNESSES

 

 

 

NAME ADDRESS {Number, street, city, State, and L`p Code)

 

 

 

‘l Z. ($ee instn.lctions on reversal AMOUNT OF CLA|M (ln dollars)
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l CERT|FY THAT THE AMOUNT OF CLAIN| COVERS ONLY DAMAGES AND lNJURlES CAUSED BY THE ACC|DENT ABOVE AND AGREE TO ACCEPT
SA|D AMDUNT IN FULL SA`USFACT|ON AND FINAL SETI’LEMENT OF THIS CLA|M.

13a. MS|:::-YE 0 ir`g§A|ti/U\N'l'QQ}/Gz f$ee instru€tions on reverse side. ) 13b. Phone number of siinatory 14. DATE OF CLA|M

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FnAuouLEN'r cLAtM cLA\M on rvtAr<tNe FALsE sTATEMENTs

 

 

 

 

 

 

 

 

 

Flne of not more than $10.000 or imprisonment for not more than 5 years

claimant shall forfeit and pay to the United States the sum of
or both. (See 18 U.S.C. 287, 1007.)

$2,000 plus double the amount of damages sustained by the United

States. !See 31 U.S.C. 372.9.)

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Case 3:11-cV-00659-T.]C-I\/|CR Document 1 Filed 07/05/11 Page 9 of 11 Page|D 9

 

PR|VACY ACT NOT\CE

This Noti:e is provided in accordance with the Privacy Act, 5 U.S.C. 552a(el(3).

and concerns the information requested in the letter to which this Notice is attached C.

A. Autharhy; The requested information is solicited pursuant to one or mora of the D.

following: 5 U.S.C. 301, 38 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq.. 28 C.F.R.

B. Principa/ Purpase: The information requested is to be used in evaluating claims.
Routine Use.' See the Notices of Systams of Fiecords for the agency to whom
you are submitting this form for this information,

Ef/ect ol Failure to Respond.’ 0isclosure is voluntary. However. failure to supply
the requested information or to execute the form may render your claim

lNSTRUCTlONS
Cornp|ete all items - insert the word NONE where applicable

A CLA|M SHALL 85 DEMED TO HAVE BEEN FRESENTED WHEN A FEDERAL
AGENCY RSCE|VES FRDM A CLAlMANT. HlS DULY AUTHOR|ZED AGEN`f. OR
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MONEY DAMAGES lN A SUM CERTA\N FOR |NJURY TO OFl LOSS OF

Any instmctions or information necessary in the preparation of your claim will be
furnishad, upon request, by the office indicated in |tam #1 on the reverse side.
Complete regulations pertaining to claims asserted under the Faderal Tort Claims
Act can be found in Tltle 28, Code of Federal Ragulations, Part 14. Many
agencies have published supplemental regulations also. lf more than one agency is
involved. please state each agency.

The claim may be filed by a duly authorized agent or other legal representative
provided evidence satisfactory to the Governmant is submitted with said claim
establishing express authority to act for the claimant. A claim presented by an
agent or legal representative must be presented in the name of the claimant. lt the
claim is signed by the agent or legal representative, it must show the title or legal
capacity of the person signing and be accompanied by evidence of his/her
authority to present a claim on behalf of the claimant as agent. cxecutor.
administrator, parent, guardian or other representative

lf claimant intends to file claim for both personal injury and property damage,
claim for both must be shown in ltem 12 of this form.

The amount claimed should be substantiated by competent evidence as follows:

{a/ ln support of the claim for personal injury or death, the claimant should
submit a written report by the attending physician, showing the nature and extent
of injury. the nature and extent of treatment, the degree of permanent disability, lf
any, the prognosis, and the period of hospitalization, or incapacitation. attaching
itemized bills for medical, hospital. or burial expenses actually incurrad.

 

PROPERTY, FERSONAL lNJURY, OR DEATH ALLEGED TO HAVE OCCURRED B¥
REASON OF THE lNC|DENT. THE ClAlM MUST 85 PRESENTED TO THE
APPROPR\ATE FEDERAL AGENCY WlTHlN TWO YEARS AFTER THE CLA|M
ACCRUES.

Ib) ln support of claims for damage to property which has bean or can be
economically repaired, the claimant should submit at least two itemized signed
statements or estimates by reliable, disinterested concerns. or, if payment has been
made, the itemized signed receipts evidencing payment.

{c) ln support of claims for damage to property which is not economically
repairable, or if the property is lost or destroyed, the claimant should submit
statements as to the original cost of the propei'ry, the date of purchase. and the
value of the property, both before and after the accident, Such statements should
be by disinterested competent parsons. preferably reputable dealers or officials
familiar with the type of property damaged, or by two or more competitive bidders,
and should be certified as being just and correct.

(d) Failure to completely execute this form or to supply the requested material
within two years from the date the allegations accrued may render your claim
“invalid'. A claim is deemed presented when it is received by the appropriate
agancy. not when it is mailad.

Fai|ure to specify a sum certain will result in invalid presentation of your claim and
may result in forfeiture of your rights.

 

Public reporting burden for this collection of information is estimated to average 15 minutes per response, including the time for reviewing instructions searching existing
data sources, gathering and maintaining the data needed. and completing and reviewing the collection of information. Send comments regarding this burden estimate or
any other aspect of this collection of information, including suggestions for reducing this burden.

10 Director, Torts Branch
Civil D'rvision
U.S. Department of Just'rce
Washington, DC 20530

and to the

Of'iice ol Management and Budget
Paperwork Reduction project (1105'0008l
Washington, DC 20503

 

lNSURANCE COVERAGE

 

ln order that subrogation claims may be adjudicated it is essential that the daimant provide the following information regarding the insurance coverage of his vehlcle or property

 

15. Do you carry accident insurance?

|'/| Yes. lf yes, give name and address of insurance company {Number, smar, chr, Stare, end Zp Codel and policy numbar.

No

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16. Hava you filed claim on your insurance carrier in this instance, and il so. is it full coverage or deductible?

\l{§' bealllc¢i#il:)`\@

17. |f deductible, state amount

 

 

18. lf claim has bean filed with your carriar, what action has your insurer taken or proposes to take with reference to your claim? rrris necessary mar you ascertain rh¢se racrs!

mci 212 clinic

 

 

19. Do you carry public liability and property damage insurance?|

Ve;, ll yns, give name and address of insurance company lNumber, slree:, city, Storc, and Zp Code)

|_|No

 

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JACKSONV|LLEl FL 32203.

Detai|ed Resu|ts:

~ Delivered, June 21, 2011, 10:08 am, JACKSONV|LLE, FL 32203

- Notioe Left. June 21, 2011, 6:44 am, JACKSONV|LLE, FL 32203

¢ Arrival at Unit, June 21, 2011, 6:44 am. JACKSONV|LLE, FL 32203

- Prooessed through Sort Facility, June 19, 2011, 3:38 am, JACKSONV|LLE, FL 32203

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Track & Confirm by email

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Your item was delivered at 11:08 am on June 21, 2011 in SA|NT LOU|S, 'G`,",`
MO 63141. ~ ‘ ~ '

Detailed Re$u|fs:

~ Delivered, June 21, 2011, 11:08 am. SA|NT LOU|S, MO 63141
' Arrival at Unit, June 21, 2011, 6'.20 am, SA|NT LOU|S. MO 63141
- Processed through Sort Faci|ity, June 20, 2011, 11:57 pm, SA|NT LOU|S. MO 63155

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